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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   WACO DIVISION

MELISSA M. MCCALL,                                   §
                                                     §
                Plaintiff.                           §
                                                     §
v.                                                   §    CASE NO. 6:19-CV-00659-ADA-JCM
                                                     §
PORTFOLIO                      RECOVERY              §
ASSOCIATES, LLC,                                     §
                                                     §
                Defendant.                           §

          DOCKET CONTROL ORDER PURSUANT TO RULES 16(b) AND 26(f)

         The Court shall hold a Rule 16(b) initial pretrial conference on Wednesday, January

22, 2020 at 3:00 p.m. The conference will be conducted by telephone at phone number (877)

336-1828 and code 4740041 and will be attended by at least one counsel for each party

having appeared as of the date of this order.

         The parties are directed to confer pursuant to Federal Rule of Civil Procedure 26(f)

and file with the Court, two (2) days before the scheduled Rule 16(b) conference, both a

joint proposed scheduling and discovery plan reflecting the Rule 26(f) criteria AND a

completed version of the Court’s standard Scheduling Order. 1 The parties or their

counsel shall confer, complete and prepare the form, obtain the appropriate signatures, and

e-mail    the   proposed     scheduling      order       in   Word   format    to   jennifer_galindo-

beaver@txwd.uscourts.gov and kyle_gardner@txwd.uscourts.gov no later than two (2)




1
   The Scheduling Order can be accessed online at the Court’s website: https://www.txwd.uscourts.gov/wp-
content/uploads/Standing%20Orders/Waco/Manske/Proposed%20Scheduling%20Order%20for%20U.S.%20Magist
rate%20Judge%20Manske.pdf


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business days before the scheduled Rule 16(b) conference. Any disagreements shall be

addressed at the conference.

       During the Rule 26(f) meeting, the parties or their counsel shall discuss the nature

and basis of their claims and defenses, the possibilities for prompt settlement or resolution

of the case, and the scope and type of discovery, including electronic discovery. The parties

shall also arrange for the disclosures required by Rule 26(a)(1) and develop their joint

proposed scheduling/discovery plan. These are the minimum requirements for the meeting.

The parties are encouraged to have a comprehensive discussion and are required to approach

the meeting cooperatively and in good faith. The discussion of claims and defenses shall be

a substantive, meaningful discussion. In addressing settlement or early resolution of the

case, the parties are required to explore the feasibility of ADR between themselves as well.

If the parties elect not to participate in an early ADR effort, the Court may nonethele ss

require a settlement conference shortly before trial.

       In addressing the Rule 26(a)(1) disclosures, the parties shall discuss the appropriate

timing, form, scope or requirement of the initial disclosures, keeping in mind that

Rule 26(a)(1) contemplates the disclosures will be made by the date of the Rule 16(b) initial

scheduling conference and will include at least the categories of information listed in

the rule. Rule 26 affords the parties flexibility in the scope, form and timing of disclosures

under both Rule 26(a)(1) (initial disclosures) and Rule 26(a)(2) (expert witness disclosures),

but the parties' agreement on disclosures is subject to approval by the undersigned. In their

discussion of disclosures, counsel shall address issues of relevance in detail, with each party

identifying what it needs and why. The discussion shall include the sequence and timing of

follow-up discovery, including whether that discovery should be conducted informally or



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formally and whether it should be conducted in phases to prepare for filing of particular

motions or for settlement discussions.

       In addressing electronic discovery, the parties shall discuss what electronic sources

each party will search, difficulty of retrieval, preservation of records, the form of production

(electronic or hard-copy, format of production, inclusion of meta-data, etc.), cost of

production and which party will bear the cost, privilege/waiver issues, and any other

electronic discovery issues present in the case. Before engaging in the Rule 26 discussion,

the parties should determine who is most familiar with the client's computer system, what

electronic records the client maintains, how the client's electronic records are stored, the

difficulty/ease of retrieving various records, the existence and terms of the client's document

retention/destruction policy, and whether the client has placed a "litigation hold" preventing

destruction of potentially relevant records.

       Finally, the Court ORDERS discovery disputes be resolved in the following manner:

(1)    The parties will confer and fully comply with Federal                   Rule of Civil

       Procedure 37(a)(2) and Local Rule AT-4(e) by undertaking sincere and good-faith

       efforts to resolve all differences without the undersigned’s action or intervention.

(2)    If reasonable, good faith efforts are made by all parties to resolve the di spute(s)

       without success, the parties will then schedule a telephonic conference with the

       undersigned to resolve the disputes BEFORE filing any motion. Filing a motion

       before exhaustion of these steps may result in summary denial of a compel motion.

(3)    If the conference does not resolve the dispute, the Court will then entertain a motion

       to compel, for sanctions, for protective order, or for other relief. The moving party




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       shall comply with Federal Rule of Civil Procedure 37(a)(2) and Local Rule AT-4(e)

       in preparing such motion and will submit the appropriate certifications to the Court.

(4)    The Court may refuse to hear any discovery motion for noncompliance with any of

       the above, including failure to make a good faith effort to resolve the dispute.

       The Court may also award costs and / or reasonable attorney’s fees for noncompliance

       with the above steps.

If a dispute arises in the limited situations where compliance with the above is unfeasible

(for example, during a deposition), the parties may contact the undersigned’s chambers for

an immediate conference on the dispute. This should be considered an option of last resort.

       SO ORDERED this 30th day of December, 2019.




                                   THE HONORABLE JEFFREY C. MANSKE
                                   UNITED STATES MAGISTRATE JUDGE




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